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AO 245C-CAED (Rev. 02/2018) Sheet 1 - Amended Judgment in a Criminal Case for Revocation
DEFENDANT: MICHAEL VALENTINO LOVATO                                                                                                           Page 1 of 5
CASE NUMBER: 2:10CR00437-010


                               UNITED STATES DISTRICT COURT
                                                    Eastern District of California
               UNITED STATES OF AMERICA                                       First AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
                          v.
              MICHAEL VALENTINO LOVATO                                        Criminal Number: 2:10CR00437-010
                                                                              Defendant's Attorney: Noa Oren, Assistant Federal Defender
 Date of Original Judgment:               February 25, 2019
 (Or Date of Last Amended Judgment)

Reason for Amendment:
    Correction of Sentence on Remand ( 18 U.S.C. 3742(f)(1) and (2))           Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
                                                                               Modification of Imposed Term of Imprisonment for Extraordinary and
    Reduction of Sentence for Changed Circumstances (Fed R. Crim. P. 35(b))
                                                                               Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                               Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
    Correction of Sentence by Sentencing Court (Fed R. Crim. P. 35(a))
                                                                               to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
    Correction of Sentence for Clerical Mistake (Fed R. Crim. P. 36)           Direct Motion to District Court Pursuant to   28 U.S.C. §2255,
                                                                                    18 U.S.C. §3559(c)(7),    Modification of Restitution Order
THE DEFENDANT:
       admitted guilt to violation of charge(s) 1, 2 and 3 as alleged in the violation superseding petition filed on 11/9/2018 .
       was found in violation of condition(s) of supervision as to charge(s)               after denial of guilt, as alleged in the violation petition
       filed on   .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation Number           Nature of Violation                                                   Date Violation Ended
1                                         New Law Violation - Driving Under the Influence of Drugs                 9/7/2016
2                                         New Law Violation - Transport/Sell Controlled Substance                  9/23/2016
3                                         New Law Violation - Assault                                              12/12/2016

The court:          revokes:         modifies:         continues under same conditions of supervision heretofore ordered on 1/25/2016 .

       The defendant is sentenced as provided in pages 2 through               of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

       Charge(s)          are dismissed.

         Any previously imposed criminal monetary penalties that remain unpaid shall remail in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid.
                                                                              2/25/2019
                                                                              Date of Imposition of Sentence
                                                                              /s/ William B. Shubb
                                                                              Signature of Judicial Officer
                                                                              William B. Shubb, Senior U. S. District Judge
                                                                              Name & Title of Judicial Officer
                                                                              3/1/2019
                                                                              Date
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AO 245B-CAED (Rev. 02/2018) Sheet 2 - Imprisonment
DEFENDANT: MICHAEL VALENTINO LOVATO                                                                                              Page 2 of 5
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                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
10 months.

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:
      The Court recommends that the defendant be incarcerated at the facility in Milan, Michigan, but only insofar as this accords
      with security classification and space availability, and the availability of the educational program that the defendant desires to
      participate in.

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before       on    .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

                                                                 RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                        to
at                                                   , with a certified copy of this judgment.



                                                                        United States Marshal


                                                                        By Deputy United States Marshal
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AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
DEFENDANT: MICHAEL VALENTINO LOVATO                                                                                              Page 3 of 5
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                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
22 months.

The defendant must report to the probation office in the district to which the defendant is released within seventy-two hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two (2) periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
      substance abuse.

      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

      The defendant shall cooperate in the collection of DNA as directed by the probation officer.

      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
      seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
      she resides, works, is a student, or was convicted of qualifying offense.

      The defendant shall participate in an approved program for domestic violence.

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
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AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
DEFENDANT: MICHAEL VALENTINO LOVATO                                                                                              Page 4 of 5
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                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.       The defendant shall not leave the judicial district without permission of the court or probation officer;
2.       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3.       the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4.       the defendant shall support his or her dependents and meet other family responsibilities;
5.       the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
         other acceptable reasons;
6.       the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7.       the defendant shall refrain from excessive use of alcohol;
8.       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9.       the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
         convicted of a felony unless granted permission to do so by the probation officer;
10.      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
         confiscation of any contraband observed in plain view by the probation officer;
11.      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcement officer;
12.      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court;
13.      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
         criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
         confirm the defendant’s compliance with such notification requirement.
                                                     U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature _____________________________ Date _________________
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AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
DEFENDANT: MICHAEL VALENTINO LOVATO                                                                                                Page 5 of 5
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                                          SPECIAL CONDITIONS OF SUPERVISION
1.       The defendant shall submit to the search of his person, property, home, and vehicle by a United States probation officer, or
         any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
         suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
         any other residents that the premises may be subject to searches pursuant to this condition.
2.       The defendant shall provide the probation officer with access to any requested financial information.
3.       As directed by the probation officer, the defendant shall participate in an outpatient correctional treatment program to obtain
         assistance for drug or alcohol abuse.
4.       As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath, urine, sweat patch,
         etc.) to determine if he has reverted to the use of drugs or alcohol.
5.       The defendant shall not possess or have access to any cellular phone without the advance permission of the probation officer.
         The defendant shall provide all billing records for such devices, whether used for business or personal, to the probation
         officer upon request.
6.       The defendant shall abstain from the use of alcoholic beverages and shall not frequent those places where alcohol is the chief
         item of sale.
7.       As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment or testing and shall
         make payment directly to the vendor under contract with the United States Probation Office of up to $25 per month.
8.       The defendant shall register, as required in the jurisdiction in which he resides, as a drug offender.
9.       The defendant shall not associate with any known gang member of the Varrio Franklon Boulevard Nortenos street gang or
         any other known member of a criminal street gang, as directed by the probation officer.
